                                                                                                                          U.S. District Court
                                              UNITED STATES DISTRICT COURT                                              [ W1scc cc •n "'ac_t_ern


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                                                                        for the
                                                            EASTERN DISTRICT OF WISCONSIN
                                                                                                                                FILED
In the Matter of the Search of                                                                                          Stephen C Dries, Clerk
                                                                             Case Number:         / °J ,rJ
A USPS Priority Mail Express parcel with tracking number
EE309697114US addressed to "Ramona Fowles, 512
School Pl, Green Bay, WI 54303" with a return address of
"Life Thrifts, 22200 Del Valle St, Woodland Hills, CA
91364."

                                         APPLICATION & AFFIDAVIT FOR SEARCH WARRANT

        I, Matt Schmitz, a federal law enforcement officer, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

             A USPS Priority Mail Express parcel with tracking number EE309697114US addressed to "Ramona
             Fowles, 512 School Pl, Green Bay, WI 54303" with a return address of "Life Thrifts, 22200 Del Valle St,
             Woodland Hills, CA 91364."

currently located in the Eastern District of Wisconsin there is now concealed: Please see attached affidavit, which
is hereby incorporated by reference.

             The basis for the search warrant under Fed. R. Crim. P. 41( c) is which is          (check one or more):

                           ✓   evidence of a crime;
                           ✓ contraband,   fruits of a crime, or other items illegally possessed;
                          •    property designed for use, intended for use, or used in committing a crime;
                          •    a person to be arrested or a person who is unlawfully restrained.

             The search is related to a violation of:

                          Title 21, United States Code, Sections 841(a)(1) and 843(b).

             The application is based on these facts:

                           ✓   Continued on the attached sheet, which is incorporated by reference.
                          •    Delayed notice of_ days (give exact ending date if more than 30 days: _ _ _) is                   requested
                               under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.




Sworn to before me, and signed in my presence.

Date ---"',(\'--+--'\)"'--'?5,.,__\...__/_,___ _ _. .,_,.2"""'0'--"'--"-19
City and state: Green Bay. Wisconsin
                                                                              nited States Magistrate Judge
                                                                             Name & Title ofJudicial Officer




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                                                 AFFIDAVIT

Matt Schmitz, United States Postal Inspector, being duly sworn, states the following information was developed

from his personal knowledge and from information furnished to him by other law enforcement agents and

professional contacts:

                                                 I. INTRODUCTION

1.   I have been employed by the United States Postal Inspection Service for approximately 14 years and was

     previously employed as a Police Officer with the City of Middleton (WI) and City of Janesville (WI) Police

     Departments for a total of six years. As part of my duties as a Postal Inspector, I investigate the use of the U.

     S. Mails to illegally send and receive controlled substances and drug trafficking instrumentalities. I have

     participated in investigations which have resulted in the arrest of individuals who have received and distributed

     controlled substances using the U.S. Mail, as well as the seizure of the illegal drugs and proceeds from the sale

     of those illegal drugs. My training and experience includes identifying packages with characteristics indicative

     of criminal activity, namely, the distribution of controlled substances.



                                           II. PARCEL TO BE SEARCHED

2.   This affidavit is submitted in support of an application for a search warrant for an 11.75 inch by 8.75 inch by

     5.75 inch U.S. Postal Service (USPS) Priority Mail Express parcel with tracking number EE309697114US,

     mailed on July 31 , 2019, from Woodland Hills, CA 91367-9998. The parcel exhibits handwritten addressee

     and return address information. The parcel is addressed to "Ramona Fowles, 512 School Pl, Green Bay, WI

     54303" and bears a return address of "Life Thrifts, 22200 Del Valle St, Woodland Hills, CA 91364." The

     parcel weighs approximately 4 pounds, 10 ounces, contains $65.40 in postage, and is hereinafter referred to as

     the SUBJECT PARCEL.

                                                III. INVESTIGATION

3.   On August 1, 2019, I searched US Postal Service records for Priority Mail Express Mail parcels that were

     destined to be delivered to the Green Bay, WI area on or about that same day. As a part my duties I regularly

     review USPS mailing records in order to identify parcels that may be associated with controlled substance

     trafficking. These reviews are often conducted independent of any specific information identifying a particular


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   address or person as being suspected of receiving controlled substances or sending controlled substances or the

   proceeds related to the distribution of controlled substances. Through my training and investigative experience,

   I have learned that parcels containing controlled substances, controlled substance paraphernalia, or proceeds

    related to the sale of controlled substances generally exhibit characteristics that could include:

       a.      The article is contained in a box, flat cardboard mailer, or Tyvek envelope;

       b.      The article bears a handwritten label;

       c.      The handwritten label on the article does not contain a business account number; and

       d.      The article originated from an area that, based on past experience is a known origination point for

               controlled substances and is destined for an area that, based on past experience, is a known

               destination point for controlled substances in the mail; or the reverse: the article originated from an

               area that, based on past experience, is a known origination point for proceeds from the sale of

               controlled substances, and is destined for an area that, based on past experience, is a known

               destination point for controlled substance proceeds.

       e.      The article weighs one or more pounds or is a weight that is consistent with the parcel containing

               items other than papers.

   Parcels found to meet these characteristics are scrutinized by Postal Inspectors through further investigation,

    which could include address and name verifications and a trained controlled substance-detecting canine

    examination. During this review I located a Priority Mail Express Mail parcel with tracking number

   EE309697114US (SUBJECT PARCEL) that had been mailed from Woodland Hills, CA on July 31 , 2019, was

    due to be delivered to 512 School Place, Green Bay, WI 54303 on August 1, 2019, and weighed approximately 4

    pounds, 10 ounces.



4. On August 1, 2019, I directed the Mail Processing and Distribution Facility (P&DF) in Green Bay, WI to notify

    me if they located the SUBJECT PARCEL when it arrived for further mail processing. I know from serving as a

   Postal Inspector in northeast Wisconsin that Priority Mail Express parcels destined for delivery to Green Bay,

    WI addresses generally arrive at the Green Bay P&DF on the morning of the day they are scheduled to be


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     delivered. On August 1, 2019, the Green Bay P&DF told me they received the SUBJECT PARCEL for further

     processing. I travelled to the Green Bay P&DF and saw the return address displayed on the SUBJECT PARCEL

     was "Life Thrifts, 22200 Del Valle St, Woodland Hills, CA 91364" while the delivery address information read,

     "Ramona Fowles, 512 School Pl, Green Bay, WI 54303." I queried USPS and CLEAR law enforcement search

     engine for information on the return address listed on the SUBJECT PARCEL (22200 Del Valle St, Woodland

     Hills, CA 91364) and learned from both (USPS and CLEAR) that this address was not known to exist. I have

     learned from my training and investigative experience that individuals mailing controlled substances commonly

     use fictitious return addresses in an attempt to avoid identification as the source of the controlled substances.



5.   On August 1, 2019, I contacted Brown County Drug Task Force Investigator and K-9 Officer Kyle Mason who

     agreed to assist in presenting the SUBJECT PARCEL to a dog sniff. Investigator Mason is a trained handler of a

     certified drug detection dog named "Sasha." Investigator Mason explained that Sasha is trained in detecting the

     presence of marijuana, cocaine, heroin, methamphetamine, and ecstasy and was last certified in detecting

     controlled substances in May of 2019. Before the SUBJECT PARCEL was placed, Investigator Mason

     deployed Sasha in a locker room in the basement of the Brown County Courthouse in Green Bay, WI, and said

     Sasha did not alert to the odor of controlled substances in this locker room. Consistent with Investigator

     Mason' s training, experience, and direction, I then placed the SUBJECT PARCEL in locker number 6 among a

     bank of metal lockers in this same room. Investigator Mason did not see where I had placed the SUBJECT

     PARCEL. Sasha examined the locker room and Investigator Mason said Sasha alerted to the odor of controlled

     substances in locker number 6. Sasha did not alert to the odor of controlled substances in any other area of the

     locker room. Following the dog sniff I retained custody of the SUBJECT PARCEL and currently have it

     secured at the Postal Inspection Service office in Oneida, WI, in the Eastern District of Wisconsin.



6.   Postal Regulation Sec. 274.31 of the United States Postal Service Administrative Support Manual states that

     no one may detain mail sealed against inspection, except under the following condition: A Postal Inspector




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     acting diligently and without avoidable delay, upon reasonable suspicion, for a brief period of time, to assemble

     evidence sufficient to satisfy the probable cause requirement for a search warrant issued by a Federal Court.



7.   For these reasons, there is probable cause to believe the SUBJECT PARCEL contains controlled substances,

     controlled substance paraphernalia, and/or proceeds or payment related to the sale of controlled substances. I

     am seeking the issuance of a warrant to search this parcel, and the contents contained therein, for contraband

     and evidence of a crime, namely, possession and possession with the intent to distribute controlled substances,

     and use of the mails to commit a controlled substance felony, in violation of Title 21 ,

     United States Code, Sections 84l(a)(l), and 843(b).




     U.S. Postal Inspector


     Subscribed and sworn to before me this __l__ day of August, 2019.




             tates Magistrate Judge
     Eastern District of Wisconsin




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